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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )          4:06CR3019
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )          ORDER
IVAN ROJO OSUNA,                             )
                                              )
                     Defendant.               )

       IT IS ORDERED that:

       (1)    The government’s request for hearing (filing 123) is granted.

       (2)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 121) has been set before the undersigned United States district judge at on
Friday, September 26, 2008, at 12:30 p.m., in Courtroom No. 1, United States Courthouse
and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.

       (3)   At the request of the defendant through his counsel, and with the agreement
of the government, the defendant may be absent from the hearing on the Rule 35 motion.

       (4)    The Marshal is directed not to return the defendant to the district.

       (5)    The defendant is held to have waived his right to be present.

       September 18, 2008.                 BY THE COURT:

                                           s/ Richard G. Kopf
                                           United States District Judge
